                     Case 2:20-cr-00226-RFB-VCF
AO 245C (Rev. 09/) Amended Judgment in a Criminal Case             Document 29 Filed 11/06/20 (NOTE:
                                                                                                 PageIdentify
                                                                                                       1 of Changes
                                                                                                              5     with Asterisks (*))
                     Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                     __________ District
                                                            District     of __________
                                                                     of Nevada
                                                                            )
              UNITED STATES OF AMERICA
                                                                            )
                                                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.                                        )
                CESAR FONTANELLI-ROJAS                                      )   Case Number: 2:20-cr-00226-RFB-VCF
                                                                            )   USM Number: 56225-048
Date of Original Judgment:             10/29/2020                           )   NISHA BROOKS-WHITTINGTON, AFPD
                                       (Or Date of Last Amended Judgment)   )   Defendant’s Attorney


THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              One of the Criminal Information filed 10/29/2020.
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                 Nature of Offense                                                           Offense Ended                Count
08 U.S.C. § 1326(a)             Deported Alien Found in the United States                                   4/30/2019                     1




       The defendant is sentenced as provided in pages 2 through                5         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s) n/a                                   G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                                       11/6/2020
                                                                                Date of Imposition of Judgment


                                                                                Signature of Judge
                                                                                  RICHARD F. BOULWARE, II                   U.S. District Judge
                                                                                Name and Title of Judge
                                                                                                       11/6/2020
                                                                                Date
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                     Sheet 4 — Probation                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment—Page         2     of         5
DEFENDANT: CESAR FONTANELLI-ROJAS
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                                                           * PROBATION

You are hereby sentenced to probation for a term of: * Five (5) years.




                                                MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
      probation and at least two periodic drug tests thereafter, as determined by the courtQRWWRH[FHHGWHVWVDQQXDOO\.
              G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (check if applicable)
4.     ✔
       G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.     G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.     G You must participate in an approved program for domestic violence. (check if applicable)
7.     G You must make restitution in accordance with 18 U.S.C. § 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8.    You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9.    If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10.   You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
      fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                     Sheet 4D — Probation                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                             Judgment—Page       3      of          5
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                                  SPECIAL CONDITIONS OF SUPERVISION
   1. Deportation Compliance – If you are ordered deported from the United States, you must remain outside the United
   States, unless legally authorized to re-enter. If you re-enter the United States, you must report to the nearest probation
   office within 72 hours after you return.
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                      Sheet 5 — Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page         4     of          5
DEFENDANT: CESAR FONTANELLI-ROJAS
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment              5HVWLWXWLRQ)LQHAVAA Assessment*JVTA AssessPHQW
TOTALS            $ -remitted-            $ 0.00                           $ 0.00                        $ 0.00                   $ 0.00
                                                                              [waived]

G The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss***                        Restitution Ordered                        Priority or Percentage




TOTALS                               $                          0.00          $                          0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for             G fine        G restitution.
     G the interest requirement for the           G fine        G restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                      Sheet 6 — Schedule of Payments                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page       5     of         5
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                 -remitted-         due immediately, balance due.

          G not later than                                     , or
          G in accordance with G C,            G D,      G     E, or    G F below; or
B    G Payment to begin immediately (may be combined with              G C,       G D, or G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Case Number
     Defendant and Co-Defendant Names                                              Joint and Several                Corresponding Payee,
     (including defendant number)                    Total Amount                       Amount                          if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
